  Case 5:25-mj-00157-DW     Document 4      Filed 06/16/25   Page 1 of 2 PageID #: 51




                        UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH DAKOTA
                                   WESTERN DIVISION




 In the Matter of the Search of:          25-
                                          REDACTED
  USA V. 25-104-05                        MOTION TO SEAL




      Comes now the United States of America, by and through Assistant United States

Attorney Heather Knox, and respectfully requests the Court issue an order

permanently sealing any documents filed in this matter that are designated as sealed

in the caption, including the affidavit, attachment, search warrant, application for

search warrant, and return, as well as the motion to seal and order to seal, and two

motions for nondisclosure and orders of nondisclosure, and that all documents

designated redacted in the caption shall not be sealed. The movant seeks to

permanently seal the unredacted documents due to the fact that they contain sensitive

law enforcement techniques.

      Dated this       day of June, 2025.

                                           ALISON J. RAMSDELL
                                           United States Attorney
                                           By:




                                            HEATHER KNOX
                                           Assistant United States Attorney
                                           515 Ninth Street, Suite 201
                                           Rapid City, SD 57701
                                           Telephone: 605-342-7822
                                           Email: Heather.Knox@usdoj.gov
  Case 5:25-mj-00157-DW       Document 4        Filed 06/16/25   Page 2 of 2 PageID #: 52




                          UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH DAKOTA
                                    WESTERN DIVISION




  In the Matter of the Search of:              25-   5'26'
                                               REDACTED
  USA V. 25-104-05                             ORDER TO SEAL




      The United States having moved this Court for an order permanently sealing all

documents filed in this matter that are designated as sealed in the caption, and not

sealing documents designated as redacted, and good cause having been shown

therefor, it is hereby

      ORDERED:


      1.     That all documents filed in this matter that are designated as sealed in the

caption, including the affidavit, attachment, search warrant, application for search

warrant, and return, as well as the motion to seal and order to seal, and two motions

for nondisclosure and orders of nondisclosure, shall be permanently sealed.

      2.     That all documents filed in this matter designated redacted in the caption

shall not be sealed.

      Dated:                         , 2025.


                                       BY THE COURT:




                                       UNITED STATES MAGISTRATE JUDGE
